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       UNITED STATES DISTRICT COURT

        FOR THE DISTRICT OF KANSAS
                                                       [i?Il~[9)
                                                                AUG 15 2016
                                                           Clari<, U.S. District Court
                    (TOPEKA)                         By:                       P•puty Cl•IK




MARCUS D ROBERSON



v


UNITED STATES



                          Case No: 5:11-cr-40078-jar-2




                      MOTION FOR REMAND TO

                      CONSIDER MOTION UNDER

                      FED.R.CRIM.P. 33




                   RELIEF SOUGHT




     COME NOW, the party, defendant and appellant, moves this

court for an order to remand this action back to the United

States District court for Kansas (Topeka) , so that the

District court may grant Marcus     Rob~rson   motion for a new

trial in this action that has been appeled to this court ..
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                GROUNDS FOR MOTION



A. Governing Facts:




     The facts on which this motion is based         on are , as

established by the Affidiavits of Virok D. Webb, and the

exhibits attached to it : 1.




1.        Petitioner asserts that petitioner was denied due

process by his trial attorney Forrest Lowry, and the

government because the existence of the       newly~discovered

evidence favorable to him by sworn affidavit of Virok D. Webb.

Mr. Roberson's trial attorney Mr. Lowry and the government

failed to previously disclose, during the filing of the

petitioner rule 33 motion. Virok D. Webb, sworn through this

affidavit that Marcus Roberson, had no illegal drug dealings

or he and I had any parts in the homicide attributed to us.

Petitioner also argues that Virok D. Webb, sworn in this

affidavit that Marcus Roberson, and him didt not discuss or

plot, or plan any homicide.



2.        A judgement in this case was entered on March 6, 2014.

The defendant was found guilty of conspiracy to distribute

crack cocaine, conspiracy to distribute powder cocaine, and

murder.
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3.     An appeal in this case was commenced by the filing of a

notice of appeal on December 8, 2015.



       Petitioner argues that he was denied due process and

the government and along with his trial attorney Forrest

Lowry, materiality violated the Brady Violation Act, because

the affiant Virok D. Webb, contends that he disclosed the

following information to Junction City Police Detective Joshua.

Brown. The petitioner argues that the affiant disclosed to

Detective Joshua Brown, on June 29, 2010, during a voluntarily

police interview. The affiant clearly express that during the

interview Detective J. Brown, asked him specifically about was

Mr. Roberson involved in the distribution. The affiant Virok

D. Webb, and Detective J. Brown was discussing, however the

affiant stated Mr. Roberson was not involved with me.



4.     On this date,                this motion for new trial

based newly-discovered evidence is filed in the district court

on the grounds that the following information disclosed by the

affiant Virok D. Webb, was withheld from the district court

during the filing of Rule 33 for new trial by trial attorney

Forrest Lowry, and from petitioner's jury trial, which such

contents which could have proven petitioner Mr. Roberson's

innocence.Therefore the petitioner Marcus D. Roberson, was a

victim of a fundamental miscarriage of justice. The newly-

discovered evidence conclusively established that the

statements made by affiant and the alibi, of the defendant Mr.

Roberson, of the alleged offenses] . Despite the appeal, the
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district court can entertain this motion under the authority

of the United States v. Cronic, 466 U.S. 648, 667 & n.42, 104

S.Ct. 2039, 80 L.Ed.2d 657(1984).



5.     This motion is made in good faith, and moot any need to

proceed with this appeal limited only to the issues of the

motion which was denied by this court for new trial. On these

dates, March 9, 2014 and November 2014, the affiant sent the

two affidavits to the petitioner Marcus Roberson, which

petitioner received the affidavits on the same date the

affidavit's date, in which the petitioner contacted his trial

attorney Forrest Lowry and private investigator Mark Reeder,

about the affidavit dated March 9, 2014, from Virok D. Webb.

The trial attorney Forrest Lowry, investigator Mark Reeder,

and the government never disclosed this information to the

District Court Judge Julie Robinson. ]The affidavit dated

March 9, 2014, had important information and could corrobate

the petitioner's alibi and his defense. The affidavits filed

with this motion show that his trial counsel was negligent in

investigating the case and never disclosed the affidavit dated

March 9, 2014, to his defense, during his Rule 33 motion when

filed for new trial, in his case.



       The Affiant Virok D. Webb, came forward and voluntarily

identified that Marcus Roberson, was not a part of his drug

distribution activities, nor did they ever plot or plan any

homicide. The.refore, this is truly newl!j-discovered evidence

and would, if presented at a new trial, likely change the

outcome of this case] .
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6.     As shown·by the petitioner request for a Certification

from the District Court attached to this motion, the District

Court has the authority to grant this motion and set a new

trial in this matter.



                  LEGAL ARGUMENT:2



       Movant should be granted a remand.to the District Court

for a resolution of the Criminal Rule 33 motion because:



1.     Because an appeal has been filed in this action, the

district court lacks the jurisdiction to grant the motion for

relief from the judgement.



2.     When, as in this case, the district court is inclined

to grant the motion, the proper procedure is to have the

District Court certify its intent to the court of appeals and

for the defendant to then move, as the defendant has done in

this case, for a remand that the court of appeals may grant.

See, e.g., United States v. Douglas, 874 F.2d 1145, 1162(7th

cir. 1989); United States v. Draper, 746 F.2d 662, 666(10th

cir. 1984).



3.     As explained above, the district court•s inclination to

grant the motion will be proper because the evidence in

question represents true    11
                                 newly-discovered 11 evidence within

the meaning of Criminal Rule 33. It was discovered, as the

Affidavit dated March 9,2014, shows, after the trial. Even
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with reasonable diligence, the defendant could not have

discovered the evidence at an earlier time. Theevidence is

central to an issue in the case, is admissible, credible, not

cumulative, not merely impeachment evidence, and would

undoubtedly alter the outcome in this case. In short, every

required element for a new trial based on newly-discovered

evidence under Criminal Rule 33 is almost        conclusively

established by the motion for a new trial that the District

Court is inclined to grant. See United States v. McGaughey,

977 F.2d 1067, 1075(7th cir. 1992))list of elements for relief

on basis of newly-discovered evidence) .



4.     A grant of the new trial motion by the District Court

will, for obvious reasons, make further proceedings in this

appeal moot, limited to the Rule 33 motion which was filed in

the District Court and denied.



5.     Because the motion is being made within Jl./lp days

following the filing of the notice of appeal, very little time

or effort has been committed to this appeal by the parties and

the courts. The record has not yet been finalized[See

Fed.R.App.P,10], or transmitted to this court. See

Fed.R.App.11. Therefore, no party will be prejudiced by a

remand at this stage of the proceedings in the appeal.



                    CONCULUSION



        For the reasons stated above Marcus D. Roberson

respectfully request that this motion be granted;

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       Dated:       fl,,.. I/ -   /0



                          Respectfully submitted,




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                                                                      03/09/14

Forrest Lowry,
I am willing to testify in Marcus Robersons defense in his appeal
trial that we had NO illegal drug dealings or he and I had any
parts in the homicide attributed to us. Unfortunetly I was not
able to testify at his trial do to my own case that was pending.
My attorney advise against it continously. Me and Roberson did
not deal in drugs together nor did he ever purchase, receive,
or contact me about anything like that. We did not discuss or
plot, or plan any homicide. I apologize for not being able to
relay this to you sooner. As I said my qttorney prevented me
from doing this for you or Dewberrys attorney. I recently took
a plea so I am free to testify for you and Roberson during his
appeal process. I get sentenced May 27th.
                                 RESPECTFULLY SUBMITTED




                                                     TAMM~ L. ,'.ERKINS
                                                 .
                                                                                       ·~•e     of Kansas
                                                     .............-.-..   ..... ··-······· ............_ .
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                                                                           November 2014

TO: Charles Rogers(Attorney for Marcus D. Roberson),

           I, Virok D. Webb,     V1n_o\f:.\.;Je_,\(b        typed this as a truth- ,
ful and correct Affidavit, and on my own free will, the information I am about
to state is true and accurate. And is willing to testify in court to this infor-
mation I state in this affidavit. I am willing to testify in Marcus D. RobersoH-
defense, that he and I "never" had no agreement in no illegal drug activities.
Mr. Roberson, never conspired together to purchase any kinda of illegal drugs or
any other illegal items,with me or from me. I never sold or gave Mr. Roberson
any kinda of illegal drugs. On June 29,2010, I had a interview with Junction
City, KS JCPD detective Joshua Brown, and during the interview detective J.
Brown asked me specifically about was Mr. Roberson involved in the distribution
me and detective J.Brown was discussing, and when I stated Mr. Roberson was not
involved with me, I was stating the truth. Mr .. Roberson has no involvement in
the distribution me and detective J. Brown was discussing. Also me and Mr. Robe-
rson, never discussed,plotted, or plan any homicide. And that goes for the one
we was wrongly accused of. I apologize for not being able to relay this inform-
ation to Mr. Roberson's defense but due to my attorney at the time would not
allow me to testify in Mr. Roberson's defense. L recently took a plea back in
March 2014, so I am free to testify for Mr. Roberson's behalf, because what I
plead out to Mr. Roberson had no involvement with me.

                                                       ReswVf zr11~~\2i t ted,
                                                             Virok D. Webb



                                                         t\_. CYNTHIA M. COLLINS
                                                       ~ Notary Public · State of Kansas
                                                       My Appl. Expires   b{   r - )-0 I&:>

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